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 Attorneys for Defendants Kevin G. Long and
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                        IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                                     STIPULATED MOTION
                                                      TO EXTEND CERTAIN DEADLINES
                 Plaintiffs,

  vs.
                                                       Case No: 2:23-cv-00936-AMA-CMR
  KEVIN G. LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;                               Judge Ann Marie McIff Allen
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE                           Magistrate Judge Cecilia M. Romero
  MCDOUGAL; and MARY STREET,

                Defendants.


        Pursuant to Fed. R. Civ. P. 16(b)(4) and DUCivR 83-6, and as reflected in the parties’ joint-

 status report, (see ECF No. 101), defendants Kevin G. Long, Millcreek Commercial Properties,

 LLC, Colliers International, Brent Smith, Spencer Taylor, Blake McDougal and Mary Street

 (collectively, “Defendants”), and plaintiffs Kate Grant and Karmann Kasten, LLC (collectively,
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 “Plaintiffs”), through their respective counsel of record in this matter, hereby stipulate and

 respectfully move the Court to extend the following deadlines in this case as follows:

                  •   Close of fact discovery: from March 11, 2025 to May 13, 2025;

                  •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – party(ies)

                      bearing burden of proof: from March 25, 2025 to May 27, 2025;

                  •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – counter

                      disclosures: from April 15, 2025 to June 17, 2025;

                  •   Rule 26-(a)(2) expert reports – party(ies) bearing burden of proof: from April 22,

                      2025 to June 24, 2025;

                  •   Rule 26-(a)(2) expert reports – counter reports: from May 21, 2025 to July 23,

                      2025;

                  •   Last day for expert discovery: from June 25, 2025 to August 27, 2025;

                  •   Deadline for filing dispositive or potentially dispositive motions: from July 11,

                      2025 to September 12, 2025;

                  •   If the parties do not intend to file dispositive or potentially dispositive motions, a

                      scheduling conference will be held for purposes of setting a trial date: from July

                      17, 2025 to TBD; and

                  •   Evaluate case for settlement/ADR: from March 11, 2025 to May 13, 2025.

          Good cause exists for the requested extension because (1) the parties are beginning

 substantive settlement discussions, and they believe that their resources should be devoted to

 settlement negotiations for a period of time; and (2) the parties need additional time to complete




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 fact discovery. The parties do not anticipate seeking a further extension on the fact discovery cutoff

 absent unforeseen, extenuating circumstances.

          This Motion is timely because the fact discovery cutoff and the other deadlines set forth

 above have not expired.

          A copy of the proposed Order Extending Certain Deadlines is attached as Exhibit “A.”

          DATED this 20th day of February, 2025.



                                                PARR BROWN GEE & LOVELESS

                                                By: /s/ Bentley J. Tolk
                                                   Terry E. Welch
                                                   Bentley J. Tolk
                                                   Rodger M. Burge

                                                   Attorneys for Defendants Kevin G. Long and
                                                   Millcreek Commercial Properties, LLC

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                                                By: /s/ Stephen K. Christiansen
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                                                    Attorneys for Plaintiffs

                                                DENTONS DURHAM JONES & PINEGAR PC

                                                By: /s/ Andrew V. Wright
                                                   James D. Gilson
                                                   Andrew V. Wright
                                                   David B. Nielson

                                                    Attorneys for Defendant Colliers International




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                                   KEITER LAW, P.C.

                                   By: /s/ John Keiter
                                      John Keiter

                                      Attorney for Defendant Brent Smith

                                   RAY QUINNEY & NEBEKER P.C.

                                   By: /s/ Justin T. Toth
                                      Justin T. Toth
                                      Maria E. Windham
                                      Nathan L. Jepson

                                      Attorneys for Defendant Spencer Taylor

                                   MITCHELL BARLOW & MANSFIELD, P.C.

                                   By: /s/ J. Ryan Mitchell
                                      J. Ryan Mitchell
                                      Christopher A. Langston
                                      Colby Tinney

                                      Attorneys for Defendant Blake McDougal

                                   STRONG & HANNI

                                   By: /s/ Stuart H. Schultz
                                      Stuart H. Schultz

                                      Attorneys for Defendant Mary Street




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 20th day of February, 2025, I caused to be served a true and

 correct copy of the foregoing STIPULATED MOTION TO EXTEND CERTAIN

 DEADLINES via the CM/ECF system, which automatically provided notice to all counsel of

 record.


                                                               /s/ Bentley J. Tolk




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